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                           EXHIBIT 3
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                                                  LAW OFFICES




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                                                May 28, 2024

    Via Email

    Leo J. Wise
    Principal Senior Assistant Special Counsel
    Derek E. Hines
    Senior Assistant Special Counsel
    Sean F. Mulryne
    Christopher M. Rigali
    Assistant Special Counsels
    950 Pennsylvania Avenue NW, Room B-200
    Washington, D.C. 20530

    Re: United States v. Smirnov
    Case No. 2:24-cr-00091-ODW

    Dear Counsel:

           Through this letter, we are following up on our March 5, 2024, written request for
    discovery. While we maintain pursuit of the requests made therein, and have not
    received all discovery requested, this letter is specific to the historical cooperation of Mr.
    Smirnov with the government. Specifically, we have not received all Form FD1023,
    and/or any other reports/documentation related to Mr. Smirnov's cooperation with the
    FBI or any other agency of the United States Government. This request was not limited
    in time frame. Further, we have not received evidence of Mr. Smirnov's communication
    with his FBI Handler, other than the limited number of Form FD 1023 that were
    provided. For example, we had requested full and complete copies of the FBI Hander's
    cell phone and email communications with Mr. Smirnov, including text messages and
    application based messages, for the entirety of their relationship. In addition, we had
    requested any records of compensation/payments made to Mr. Smirnov by the
    government, including the Department of Justice and/or FBI and/or any other law
    enforcement or government agency.

           While there were numerous other requests that were made in our initial discovery
    demand, which have not been satisfied, our trial preparation is being stalled as a result of
    the government's failure to produce the above stated discovery.
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        Mr. Smimov reserves all rights and remedies.

        Thank you for your attention to this matter.

                                                  Sincerely,

                                                  CHESNOFF & SCHONFELD



                                                  David Z. Chesnoff, Esq.
                                                  Richard A. Schonfeld, Esq.
